JS 44 (Rev. 12/12)

Case 2:15-cv-05981-RBS, , Raguneny SHEET 11/04/15 Pagelof7

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local mules of-court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SHE INSTRUCTIONS ON NEXT PAGE OF THIS FORA)

L (a) PLAINTIFFS
AMY SCOTT

(bh) County of Residence of First Listed Plaintiff DELAWARE

DEFENDANTS
KNOWLEDGE UNIVERSE, KINDERCARE LEARNING CENTER

Couaty of Residence of First Listed Defendant MULTNOMAH >

(EXCEPT IN U.S. PLAINTIFF CASES)
NOTE:

Attomeys (If Known)
UNKNOWN

(c) Attorneys (Firm Name, Address, and Telephone Number)

JOHN NEUMANN HICKEY, 20 W. FRONT ST. MEDIA PA 19063
610-891-8883

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION GF
THE TRACT OF LAND INVOLVED.

Ii. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

II, BASIS OF JURISDICTION (Place an “X" in One Bax Only)
(For Diversity Cases Only) and One Box for Defendant)
Oi US. Government wT Federal Question PYF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State 9 1 OF 1 Iecorporated or Principal Place a4 a4
of Business In This State
O 2 U.S. Government 04° Diversity Citizen of Another State 0 2 © 2 Incorporated and Principal Place o5 05
Defendant (adicate Citizenship of Parties in Hem HD) of Business In Another State
Citizen or Subject ofa 03 O 3 Foreign Nation go6 6
Foreign Country

IV. NATURE OF suit {Place an UX" in Que Bow Gulp)

Le CONTRACT: TORTS: =FORFEITURE/PENALTY: “BANKRUPTCY 222: [OTHER STATUTES © =]
CF 110 Insurance PERSONAL INJURY PERSONAL INJURY [6 625 Dmg Related Seizure 422 Appeal 28 USC 158 O 375 False Claims Act
0 120 Marine O 310 Aimlane O 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal O 400 State Reapportionment
(7 130 Miller Act 0 315 Airplane Product Product Liability (7 690 Other 28 USC 157 O 410 Antitrust
OG 140 Negotiable Instrument Liability O 367 Health Care/ 4 430 Banks and Banking
1 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical “PROPERTY RIGHTS =o} OF 450 Commerce
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights ff 460 Deportation
O 151 Medicare Act (4 336 Federal Employers* Praduct Liability O 830 Patent CO 470 Racketeer Influenced and
O01 152 Recovery of Defaulted Liability O 368 Asbestos Personal O 840 Trademark Corrupt Organizations
Student Loans 0 340 Marine Injury Product CO 480 Consumer Credit
(Excludes Veterans) 0 345 Marine Product Liability : SS PATIOR oe -= SOCIAL SECURITY | O = 490 Cable/Sat TV
O 153 Recovery of Overpayment Liability PERSONAL PROPERTY | 710 Fair Labor Standards CF 861 AIA (1395ff) OC 850 Securities‘Commodities!
of Veteran's Benefits G 350 Matar Vehicle 0 370 Other Fraud Act C1 862 Black Lung (923) Exchange
O 160 Stockholders’ Suits G 355 Motor Vehicle 0 371 Truth in Lending G 720 Labor/Management O 863 DIWC/DIWW (405(g)} | 0 890 Other Statutory Actions
1 190 Other Contract Product Liability (J 380 Other Personal Relations O 864 SSID Title XVI 0 891 Agricultural Acts
O 195 Contract Product Liability | 360 Other Personal Property Damage O 740 Railway Labor Act O 865 RSI (405(p)) OF $893 Environmental Matters
0 196 Franchise Tajury 1 384 Property Danage @ 751 Family and Medical 1) 895 Freedom of Information
C1 362 Personal Injury - Product Liabitity Leave Act Act
Medical Malpractice 1 790 Other Labor Litigation O) 896 Arbitration
| “REAL PROPERTY.) 2 CIVIL RIGHTS & | -PRISONER PETITIONS =] 791 Employee Retirement FEDERAL TAX SUITS —-] 01 899 Administrative Procedure
210 Land Condemnation G 440 Other Civil Rights Habeas Corpus: Income Security Act 0 870 Taxes (U.S. Plaintiff ActReview or Appeal of
220 Foreclosure G 441 Voting GC 463 Alien Detainee or Defendant) Ageucy Decision
C 230 Rent Lease & Ejectment Gi 442 Employment G 510 Motions to Vacate 0 871 IRS—Third Party O 950 Constitutionality of
G 240 Torts to Land 0 443 Housing/ Sentence 26 USC 7609 State Statutes
G 245 Tort Product Liability Accommodations QO 530 General
G 290 All Other Real Property O 445 Amer, w/Disabilities -} G 535 Death Penalty SE MMIGRATION: =
Employmeat Other: O 462 Naturalization Application
0 446 Amer. w/Disabilities ~[01 540 Mandamus & Other [© 465 Other Inumigration
Other OF 550 Civil Rights Actions
O 448 Education 01 555 Prison Candition
O 460 Civil Detainee -
Conditions of
Confinement
¥. ORIGIN (Place an “X" in One Box Only)
Original 2 Removed from O 3.) Remanded from O14 Reinstatedor O 3 Transferred from 1 6 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation
{specify}
Cite the U.S. Civil Statute under which you are filing (Do nos cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION 29 USC 2601
i 7 Tat
‘ Brief description of cause:
violation of FMLA
VII. REQUESTED IN 1] CHECK IF THIS IS A CLASS ACTION OE LO $ - CHECK YES only if demande prcpmplaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. £04 000 JURY DEMAND: rYes Yao
ft
VI. RELATED CASE(S)
(See instructions):
IF ANY JUDGE DOCKET NUMBER
DATE SIGN. IF ATTORNEY OF RECORD
41/02/2015
FOR OFFICE USE ONLY he.
RECEIPT # YING IFP JUDGE

AMOUNT

MAG. JUDGE

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UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA — DESIGNATION FORAL to be used by counsel to indicate ihe category of the case for the purpose of
assignment to appropriate calendar,

Address of Phintit; 123 Rose Ln, Springfield, PA 19064

Address of petindant: 850 NE Holladay St, Suite 1400 Portland OR 97232-2096

Place of Aceldent, Incident or Transaction: Aston , Pennsylvania

(Use Reverse Side For Additional Space}

Does this civil action involve 2 nongovernmental corporate pacty with aay parent corporation aud any publicly held corporation owning 10% or more of its stock?

(Atiach twe copies of the Disclosure Statement Form in accordance with Fed. R.Cly.P, 7.1(a)) yest] Nod"
Does this case invalve multidistrict Htigation possibilities? Yes) = Noll"
RELATED CASE, IF ANY:

Case Number: Judge Dale Tenninated:

Civil cases are deemed related when yes is answered to any of the fallowing questions:

|. ¥5 this case related to property included in on earlier numbered sult pending or within one year proviously terminated action in this count?
Yes Not

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior sult pending or within one year proviously terminated

action In this court?
Yes] Noo

3. Does this case involve the validity or infringement ofa patent alceady in suit or any earlier numbered case pending or within one year previously
tenwinated action in this count? YesO nok”

4, Is this case a second or successive habeas corpus, secial security appeal, or pro se cLvil rights case filed by dhe same individual?
YesO rot

CIVis (Place W itt ON CATEGORY ONLY)
AL Federaf Question Cases:

we

. Diversity Jurisdiction Cases:

1, GO Iademnity Contract, Marine Contract, and All Other Contracts 1, O Insurance Contract and Other Contracts
2. 0 FELA 2. G Airplane Personal lajury

3. 1 Jones Act-Personal Injury 3, O Assault, Defamation

4, 0 Aatiteust 4, G Marine Personal Injury

5. G Patent 5. 0 Motor Vehicle Personal Injury

6, G Labor-Management Relations 6, O Other Personal Injury (Please specify)
7. U Civil Rights 7, O Products Liability

8. O Habeas Corpus 8. O Products Liability — Asbestos

9, O Securities Act(s) Cases 9. O All other Diversity Cases

10,0 Social Security Review Cases (Pleasespecify}

11, HAIl other Federal Question Cases

(Please specify) mit

ARBITRATION CERTIFICATION
3 (Check Appropriate Category)
I, al uw MN. Hechay , counsel of record do hereby certify;
O Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, te damages recovernblo in this civil action case exceed the sum of
$150,080.60 exclusive of interest and costs;
O Relief other than monetary damages is sought,

parr: 11/2/2015 61896
Attomey-at-Law JOHN NEUMANN HICKEY Attomey L.D#

NOTE: A trial de novo will be a (cial by jury onty if there has been compliance with FLR,CP, 38,

Leortify that, fo my knowledge, the within case is not related to any case now pending or within one year previously terminated action in fils court
except as noded above.

11/2/2015 61896
Atetfey-at- Attomey LD.

CIY, 609 (5/2012) JO NEUMANN HICKEY

DATE:

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

AMY SCOTT : CIVIL ACTION

V.

KNOWLEDGE UNIVERSE EDUCATION ET AL : NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management ‘Track Designation Form specifying the track

to which that defendant believes the case should be assigned.
SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255.

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits.

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2.

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos.

(e} Special Management — Cases that do not fail into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special
management cases.)

(f) Standard Management — Cases that do not fall into any one of the other tracks.

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11/2/15 JOHN NEUMANN HICKEY PLAINTIFF

Date Attorney-at-law Attorney for
610-891-8883 610-891-8923 JNH@hickeylaw.net
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02

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IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
PENNSYLVANIA

AMY SCOTT
123 ROSE LANE
SPRINGFIELD, PA 19064
Plaintiff,
Vv.
KNOWLEDGE UNIVERSE
EDUCATION, LLC
650 NE HOLLADAY STREET
SUITE 1400
PORTLAND OR 97232-2096
Defendant
&
KINDERCARE LEARNING CENTER
650 NE HOLLADAY STREET
SUITE 1400
PORTLAND OR 97232-2096
Defendant

COMPLAINT

PARTIES
I. The plaintiff is Amy Scott an adult who lives at 123 Rose Lane, Springfield, PA 19064.
2. The defendant is Knowledge Universe Education, LLC (hereinafter “Knowledge
Universe”), a Delaware Limited Liability Company whose primary place of business is 650 NE
Holladay Street, Suite 1400, Portland OR 97232-2096. This defendant has more than fifty (50)
employees.
3. ‘The defendant is KinderCare Learning Center, LLC (hereinafter KinderCare”), a
Delaware Limited Liability Company whose primary place of business is 650 NE Holladay
Street, Suite 1400, Portland OR 97232-2096. This defendant has more than fifty (50) employees,
4, This action is brought under the Family and Medical Leave Act (FMLA) Title 29 US.C.

§ 2601 et seq. and for retaliation for plaintiff's seeking protection under the FMLA.

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JURISDICTION

5. Jurisdiction is invoked pursuant to 28 U.S.C. 1331 and 1391.

VENUE
6. Plaintiffs employment was within this judicial district. The unlawful acts of the defendant
occurred in this district.
FACTUAL BACKGROUND

7. In October 2013 the plaintiff was employed by the defendants as an Assistant Director at
KinderCare Learning Center in Aston, Pennsylvania. KinderCare is a subsidiary of Knowledge
Universe. Plaintiff's actual employer was Knowledge Universe but plaintiff was employed at a
KinderCare location.

8. Plaintiff had requested and was granted intermittent FMLA leave due to medical
conditions which include endometriosis and associated problems including the possibility of
Lupus and M.S,

9. The Director at this location and the plaintiff's immediate Supervisor was Fran Lochman.
10. On or about November 22, 2013 the plaintiff became very ill due to the conditions for
which she was granted intermittent FMLA leave. Her doctor told her not to work.

11. — The plaintiff made Fran Lochman aware of her condition and her doctor’s order,

12. While not working the plaintiff contacted Fran Lochman every day by either text or
phone call.

13. On December 9, 2013 the plaintiff saw her physician who informed her to stay out of
work for two more weeks.

14. —s- The plaintiff made Fran Lochman aware of this on the same day.

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15. On December 9, 2013 Ms. Lochman told the plaintiff to return to work or she would be
fired, Fran Lochman advised that a district manager named “Doug” wanted to replace the

plaintiff because of the FMLA leave and that “Doug” did not care about the doctor’s notes.

16. Plaintiff was unable to return to work and was under physician’s orders not to return to
work.
17, Within a few weeks Fran Lochman had the plaintiff's personal belongings which were at

work delivered to her home.

18. A short time later the plaintiff contacted Knowledge Universe’s corporate benefits
department to see about short term disability. Plaintiff requested that all appropriate forms and
paperwork be faxed to her doctor and corporate (“Elizabeth”) informed they would fax
everything over to her treating doctor.

19. The following week, upon learning that corporate had not faxed the paperwork to her
doctor, she called corporate again. She was informed that she had been terminated and that her
bess Fran Lochman had informed that plaintiff “fell off the face of the earth” and that she had
not heard from the plaintiff since November 22, 2013 which was not true.

19. The plaintiff believes and therefore avers she was terminated for exercising her right to
Intermittent FMLA leave.

20. The plaintiff followed all work rules and provided all proper medical documentation to
take her approved FMLA leave.

21, The action of the defendant is in violation of the FMLA.

22. The actions of the defendant are retaliatory.

23.  Asaresult the plaintiff sustained damages including loss of employment and wages.

24, By requesting FMLA Leave the plaintiff was engaging in a statutorily protected conduct.

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25.  Asaresult plaintiff had an adverse employment reaction, she was fired.
26. The events were so close in time demonstrating a causal connection between the two
events,

27. Asaresult the plaintiff lost her job, the pay from her job and the bonuses she would have
been entitled to receive.
WHEREFORE, plaintiff claims all damages recoverable in a FMLA claim and a FMLA

Retaliation claim, including front pay, back pay, liquidated damages and attorney’s fees.

Respectfully submitted,

Kf —

JO EUMANN HICKEY

